Case 2:04-Cr-20307-.]P|\/|-de Document 71 Filed 08/26/05 Page 1 of 2 Page|D 111

 

IN THE UNITED STATES DISTRICT COURT m.ED BY "~-@g D.O.
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION 05 AUG 26 PH 52 90
umw A. GUD'
UNITED STATES oF AMERICA W@ i`ff` _%zf;§'z,§p§{;g

Plaintiff,
VS CR. NO. 04-2030'7-1'\&1
KENNETH GRAY

Defendant(s)

-_I\_¢-._r\-._¢-._.¢V\_,~..,\.._¢\._¢~_¢`_,

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set for a Report Date on Friday, August 26, 2005 at
9:00 a.m. Counsel for the defendant requested a continuance of the
present setting. The continuance is necessary to allow for additional
preparation in the case.

The Court granted the request and continued the matter for a Report
Date to Friday, September 23, 2005 at 9:00 a.m. with a trial date of
Monday, October 3, 2005.

The period from September 16, 2005 through October 14, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) to allow defense counsel
additional time to prepare.

IT Is so 0RDERED this the 0?&0 day of August, 2005.

Om‘w!l

JO PHIPPS MCCALLA
ITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 71 in
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August 30, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

